64 F.3d 655
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Walter Eugene ALEXANDER, Petitioner--Appellant,v.Ronald J. ANGELONE, Director of the Virginia Department ofCorrections, Respondent--Appellee.
    No. 95-6284.
    United States Court of Appeals, Fourth Circuit.
    Aug. 16, 1995.
    
      Walter Eugene Alexander, appellant pro se.
      Robert B. Condon, Asst. Atty. Gen., Richmond, VA, for appellee.
      Before ERVIN, Chief Judge, MOTZ, Circuit Judge, and PHILLIPS, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion accepting the recommendation of the magistrate judge and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Alexander v. Angelone, No. CA-94-254-2 (E.D.Va. Jan. 19, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    